946 F.2d 1563
    292 U.S.App.D.C. 83
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.Abdul Wakil AMIRI, Former Afghan Lawyer and Journalist, Appellant,v.WUSA-TV, Channel 9.
    No. 90-7156.
    United States Court of Appeals, District of Columbia Circuit.
    Aug. 29, 1991.
    
      Appeal from the United States District Court for the District of Columbia, CA 90-01585;  Oberdorfer, J.
      Before MIKVA, Chief Judge, and D.H. GINSBURG and RANDOLPH, Circuit Judges.
      JUDGMENT
      PER CURIAM.
    
    
      1
      This appeal was considered on the record from the United States District Court for the District of Columbia and on the briefs filed by the parties.   The court has determined that the issues presented occasion no need for a published opinion.   See D.C.Cir. Rule 14(c).   It is
    
    
      2
      ORDERED AND ADJUDGED that the district court's orders filed September 28, 1990 and October 15, 1990 be affirmed substantially for the reasons stated by the district court.   This court will not consider appellant's allegations concerning discrimination first raised in his motion for reconsideration of the district court's judgment because no exceptional circumstances exist that would justify a deviation from the general rule that "a federal appellate court does not consider an issue not passed upon below."   Singleton v. Wulff, 428 U.S. 106, 120 (1976).
    
    
      3
      The Clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.   See D.C.Cir. Rule 15.
    
    